      Case 1:23-cv-01599-ABJ-ZMF Document 221 Filed 03/04/24 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
SECURITIES AND EXCHANGE                    )
COMMISSION,                                )
                                          )
                        Plaintiff,        )
                                          )
                  v.                      )  No. 1:23-cv-01599-ABJ-ZMF
                                          )
BINANCE HOLDINGS LIMITED,                 )
BAM TRADING SERVICES INC.,                )
BAM MANAGEMENT US HOLDINGS                )
INC., AND CHANGPENG ZHAO,                 )
                                          )
                        Defendants.       )
__________________________________________)

                   PLAINTIFF SECURITIES AND EXCHANGE
             COMMISSION’S NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiff Securities and Exchange Commission (“SEC”) respectfully submits this Notice

of Supplemental Authority to inform the Court of a recent ruling on a motion for default

judgment in SEC v. Wahi, No. 22 Civ. 1009 (TL), Dkt. No. 119 (W.D. Wash. Mar. 1, 2024)

(“Wahi”) that is relevant to the Court’s consideration of Defendants’ motions to dismiss (Dkt.

Nos. 117, 118), the SEC’s omnibus opposition brief (Dkt. No. 172), and Defendants’ reply briefs

(Dkt. Nos. 191, 192). In Wahi, the court held that a defendant who purchased certain crypto

assets on trading platforms purchased securities because the assets were offered and sold as

investment contracts under SEC v. W.J. Howey Co., 328 U.S. 293 (1946). See Wahi, at 9-14. In

explaining its ruling, the court held that the Howey “analysis remains the same even to the extent

[the defendant] traded tokens on the secondary market.” See id. at 13-14 (citing SEC v.

Terraform Labs, Inc., 2023 WL 8944860, at *15 (S.D.N.Y. Dec. 28, 2023)). The Wahi opinion

is attached hereto as Exhibit A.
     Case 1:23-cv-01599-ABJ-ZMF Document 221 Filed 03/04/24 Page 2 of 2




Dated: March 4, 2024               Respectfully submitted,



                                   s/ Matthew Scarlato
                                   Matthew Scarlato (D.C. Bar No. 484124)
                                   Jennifer L. Farer (D.C. Bar No. 1013915)
                                   J. Emmett Murphy
                                   David A. Nasse (D.C. Bar No. 1002567)
                                   Jorge G. Tenreiro
                                   Elisa S. Solomon
                                   SECURITIES AND EXCHANGE
                                    COMMISSION
                                   100 F Street, NE
                                   Washington, DC 20549
                                   (202) 551-3749 (Scarlato)
                                   scarlatom@sec.gov

                                   Attorneys for Plaintiff




                                      2
